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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN




 JOHN DOE,
                                           Civil Action No. 2:24-cv-10201
                     Plaintiff,
                                           JURY TRIAL DEMANDED
       v.

 PASCHAL SECURITY SYSTEMS,
 LLC,

                     Defendant.


                                   COMPLAINT

    John Doe (“Plaintiff” or “Mr. Doe”), by and through his counsel brings the

following Complaint against Paschal Security Systems, LLC (“Defendant” or

“Paschal”) for violations of the federal Fair Credit Reporting Act (“FCRA”), 15

U.S.C. §§ 1681, et seq., arising out of an employment background check report that

Defendant published to Plaintiff’s potential employer, which falsely portrayed

Plaintiff as a convicted felon.

                                  INTRODUCTION

      1.     This is an individual action for damages, costs, and attorney’s fees

brought against Defendant pursuant to the Fair Credit Reporting Act, 15 U.S.C. §§

1681, et seq. (“FCRA”).

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      2.       Defendant is a consumer reporting agency that compiles and maintains

files on consumers on a nationwide basis. It sells consumer reports generated from

its database and furnishes these consumer reports to employers who use the reports

to make decisions regarding whether to offer employment to certain consumers.

      3.       Defendant falsely reported to Plaintiff’s prospective employer that

Plaintiff was convicted of a felony. Defendant’s reporting is grossly inaccurate and

untrue.

      4.       Plaintiff has never been convicted of a felony in his life.

      5.       Plaintiff’s prospective employer denied Plaintiff’s job application after

receiving an employment background check report from Defendant, which included

the inaccurate felony conviction.

      6.       Defendant’s inaccurate reporting could have easily been avoided had

Defendant performed a cursory review of the widely available underlying public

court records from Wayne County, Michigan regarding the criminal record at issue

prior to publishing Plaintiff’s report to his prospective employer.

      7.       Had Defendant performed even a cursory review of the underlying

public court records, it would have discovered that Plaintiff has never been convicted

of a felony.

      8.       Defendant does not employ reasonable procedures to assure the

maximum possible accuracy of the information it reports regarding consumers.



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Defendant’s failure to employ reasonable procedures resulted in Plaintiff’s report

being grossly inaccurate.

      9.     Defendant committed these violations pursuant to its standard policies

and practices, which harm innocent consumers seeking employment by prejudicing

their prospective employers with inaccurate criminal record information.

      10.    Defendant’s inaccurate report cost Plaintiff a good-paying job and job

security.

      11.    As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of employment

opportunities, wages, and benefits; loss of economic opportunities and positions and

advancements in the future; loss of time and money trying to correct his background

check report; the expenditure of labor and effort trying to dispute and trying to

correct the inaccurate reporting; damage to his reputation; loss of sleep; lasting

psychological damage; loss of capacity for enjoyment of life; and emotional distress,

including mental anguish, anxiety, fear, frustration, humiliation, and embarrassment.

      12.    As a result of Defendant’s conduct, action, and inaction, Plaintiff brings

claims against Defendant for failing to follow reasonable procedures to assure

maximum possible accuracy based on 15 U.S.C. § 1681e(b) of the FCRA.




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                                     PARTIES

      13.    John Doe (“Plaintiff” or “Mr. Doe”) is a natural person residing in

Hamtramck, Michigan, and is a “consumer” as that term is defined in 15 U.S.C. §

1681a(c).

      14.    Defendant Paschal Security Systems, LLC (“Defendant” or “Paschal”)

is a corporation doing business throughout the United States, including the State of

Michigan and in this District, and has a principal place of business located at 2720

Alpha Access St., Suite C, Lansing, MI 48910.

      15.    Among other things, Defendant sells background checks to employers

for their use in deciding whether to offer employment to prospective employees or

to take adverse action such as termination, failure to hire, or failure to promote.

These reports are provided in connection with a business transaction initiated by the

employer.

      16.    Defendant is a consumer reporting agency as defined in 15 U.S.C. §

1681a(f) because for monetary fees, it regularly engages in the practice of evaluating

and/or assembling information on consumers for the purpose of furnishing consumer

reports for employment purposes to third parties, and uses interstate commerce,

including the Internet, for the purpose of preparing and furnishing such consumer

reports.




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                             JURISDICTION AND VENUE

      17.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

      18.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Plaintiff's claims

occurred in this District.

                             STATUTORY BACKGROUND

      19.    Enacted in 1970, the FCRA’s passage was driven in part by two related

concerns: first, that consumer reports were playing a central role in people’s lives at

crucial moments, such as when they applied for a job or credit, and when they

applied for housing. Second, despite their importance, consumer reports were

unregulated and had widespread errors and inaccuracies.

      20.    While recognizing that consumer reports play an important role in the

economy, Congress wanted consumer reports to be “fair and equitable to the

consumer” and to ensure “the confidentiality, accuracy, relevancy, and proper

utilization” of consumer reports. 15 U.S.C. § 1681.

      21.    Congress, concerned about inaccuracies in consumer reports,

specifically required consumer reporting agencies to follow “reasonable procedures

to assure maximum possible accuracy” in consumer reports. 15 U.S.C. § 1681e(b).


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      22.    Consumer reports that contain factually incorrect information which

does not belong to the consumer at issue are neither maximally accurate nor fair to

the consumers who are the subjects of such reports.

            THE FCRA’S PROTECTIONS FOR JOB APPLICANTS
      23.    Despite its name, the Fair Credit Reporting Act covers more than just

credit reporting, it also regulates employment background check reports like the one

Defendant prepared in Plaintiff’s name.

      24.    The FCRA provides a number of protections for job applicants who are

the subject of background checks for purposes of securing employment, housing,

and other purposes.

      25.    In the parlance of the FCRA, background checks are “consumer

reports,” and providers of background checks, like Defendant, are “consumer

reporting agencies.” 15 U.S.C. §§ 1681a(d) and (f).

      26.    The FCRA imposes duties on consumer reporting agencies to assure

that consumer reports are accurate and that “consumer reporting agencies exercise

their grave responsibilities with fairness, impartiality, and a respect for the

consumer’s right to privacy.” 15 U.S.C. § 1681.

      27.    Under 15 U.S.C. § 1681e(b), consumer reporting agencies are required

“to follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.”



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        28.   Defendant disregarded its duties under the FCRA with respect to

Plaintiff’s background check report.

              DEFENDANT’S ILLEGAL BUSINESS PRACTICES
        29.   Over the past 15 years, there has been increased collection and

aggregation of consumer data, including criminal records and sex offender

registration data. As a result of the increasing availability of this data, there has been

a boom in the background check industry.

        30.   As summarized in a recent report by the Consumer Financial Protection

Bureau1, a 2018 survey of employers found that 95 percent of employers surveyed

conducted one or more types of background screening. CFPB Report at 4.

        31.   The criminal background check industry takes in revenues in excess of

three billion dollars, annually.

        32.   Criminal background checks are generally created by running

automated searches through giant databases of aggregated criminal record data. The

reports are created and disseminated with little to no manual, in-person review, and

the underlying court records are rarely directly reviewed in creating criminal

background checks.




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    CFPB, Market Snapshot: Background Screening Reports (Oct. 2019),
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https://files.consumerfinance.gov/f/documents/201909_cfpb_market-snapshot-
background-screening_report.pdf (“CFPB Report”).

      33.    Background check companies, like Defendant, collect millions of

criminal records from a number of sources with data from county, state, and federal

level sources. The data included on the reports is often not obtained directly from

court records on an individual basis but instead is purchased in bulk or scraped from

court websites.

      34.    Given that Defendant is in the business of selling background checks,

Defendant should be well aware of the FCRA and the attendant harm to consumers

for reporting inaccurate or outdated information.

      35.    Defendant places its business interests above the rights of consumers

and reports such inaccurate information because it is cheaper for Defendant to

produce reports containing information that is inaccurate and incomplete than it is

for Defendant to exert proper quality control over the reports prior to their being

provided to Defendant’s customers.

      36.    Defendant reports such erroneous and incomplete information because

it wants to maximize the automation of its report creation process, thereby saving

the costs associated with conducting the additional review necessary to remove the

inaccurate or out-of-date entries.

      37.    Defendant charges its customers the same price for reports that are

grossly inaccurate as it does for accurate reports.

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      38.    Appropriate quality control review of Plaintiff’s report would have

made clear that Defendant was reporting a misdemeanor as a felony.

      39.    Not only was the Defendant reporting the wrong charge type, but

Defendant was in fact reporting a criminal record that should not have been reported

in the first place because the record was set aside and sealed.

      40.    As a provider of background check reports, Defendant should be aware

of the FCRA requirements and is likely a member of the Professional Background

Screening Association (“PBSA”). PBSA hosts a conference at least once a year

where presenters discuss compliance with federal and state consumer reporting laws.



                                       FACTS
         Plaintiff Applies for a Job with Community Medical Services
      41.    On or about October 2023 Plaintiff applied for full-time employment

as a Suburban Mobility Authority for Regional Transportation (SMART) driver. The

position was for full-time employment with a government agency and offered

compensation of $40,000 annually and favorable benefits.

      42.    Plaintiff submitted and completed an application to SMART for the

position, submitted any requested documents in support of his application, and was

interviewed for the position.




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      43.     On or about October 2023, SMART extended a job offer to Plaintiff for

the position to which he applied. The job offer was conditioned upon Plaintiff

passing a background check (“employment report.”)

  Defendant Published an Inaccurate Background Check Report to SMART
      44.     SMART contracted with Defendant to conduct background checks,

including criminal background checks, on its prospective employees.

      45.     On or about October 30, 2023, SMART ordered a criminal background

check on Plaintiff from Defendant.

      46.     On or about October 30, 2023, in accordance with its standard

procedures, Defendant completed its employment report about Plaintiff and sold the

same to SMART.

      47.     Within that employment report, Defendant published inaccurate

information about Plaintiff.

      48.     Specifically, Defendant’s employment report about Plaintiff included a

grossly inaccurate and stigmatizing felony conviction from Wayne County,

Michigan. The felony conviction reported by Defendant about Plaintiff is

inaccurate.

      49.     Plaintiff has never been convicted of a felony in his life.

      50.     A cursory review of the widely available underlying public court

records confirms that Plaintiff never pled guilty to or was convicted of a felony.



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Rather, the public record confirms that Plaintiff was only ever convicted of

misdemeanor.

      51.    Doubly damaging and stigmatizing to Plaintiff, is the fact that the

misdemeanor conviction was set aside and sealed and accordingly should not have

been reported.

      52.    The sole reason the inaccurate felony conviction was reported by

Defendant was because Defendant failed to follow reasonable procedures to assure

the maximum possible accuracy of the information it published within the

employment report it sold about Plaintiff to Plaintiff’s prospective employer.

      53.    Had Defendant followed reasonable procedures, it would have

discovered that Plaintiff has never been convicted of felony and that it should not

have reported the same.

      54.    In preparing and selling a consumer report about Plaintiff, wherein

Defendant published to Plaintiff’s prospective employer inaccurate information

about Plaintiff, Defendant failed to follow reasonable procedures to assure that the

report was as accurate as maximally possible, in violation of 15 U.S.C. § 1681e(b).

                      SMART Revokes Plaintiff’s Job Offer
      55.    Following his successful interview with SMART, during which he was

given two potential start dates, Plaintiff expected to hear from SMART to begin the

onboarding process.



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       56.   Unfortunately, however, Plaintiff never heard back from SMART.

       57.   Upon information and belief, Plaintiff’s job offer was revoked by

SMART as a direct result of the felony conviction reported by Defendant.

       58.   Shortly thereafter, Plaintiff obtained a copy of the subject employment

report sold by Defendant to SMART about Plaintiff and was shocked and alarmed

to see that Paschal had not only reported the set aside and sealed conviction, but that

Paschal had also gone so far as to inaccurately report a misdemeanor as a felony.

       59.   Plaintiff tried to contact SMART to let them know this report by

Defendant was grossly inaccurate and false, but he could not reach anyone.

       60.   Plaintiff was very panicked, confused, and concerned about the impact

of the inaccurate reporting that he was a convicted felon, both in relation to the

SMART position, but also the impact of the same on his future.

       61.   Specifically, Defendant reported a felony conviction that is clearly

labeled in the underlying court records as a misdemeanor. The underlying court

records were available to Defendant prior to publishing Plaintiff’s employment

report to SMART, but Defendant failed to obtain or perform even a cursory review

of such information.

       62.        On November 29, 2023, desperate to secure employment with

SMART and riddled with worry over the far-reaching impacts of the inaccurate

information, Plaintiff attempted to call Defendant to dispute the inaccurate

information in its report about Plaintiff.
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      63.    Unfortunately, Plaintiff could not reach anyone on Defendant’s phone

number he called.

      64.    Plaintiff reasonably believes that due to Defendant’s inaccurate

reporting in the first instance, SMART formed a negative opinion about Plaintiff

and/or moved on to other candidates.

      65.    Defendant’s false report cost Plaintiff a promising, well-paying job

with SMART.

      66.    Plaintiff was excited and looking forward to working for SMART

especially after being given two potential dates to start working, but that excitement

was quashed and replaced with disappointment after Defendant published the

grossly inaccurate and non-public information to Plaintiff’s prospective employer.

      67.    Due to Defendant’s unreasonable procedures in the first place and

despite Plaintiff’s continued efforts to seek employment, Plaintiff has been unable

to find employment.

      68.    The injuries suffered by Plaintiff as a direct result of Defendant’s

erroneous reporting are the type of injuries that the FCRA was enacted to address.

Under common law, Defendant’s conduct would have given rise to causes of action

based on defamation and invasion of privacy.

      69.    As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of

employment,
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opportunities, wages, and benefits; loss of economic opportunities and positions and

advancements in the future; loss of time and money trying to correct his background

check report; the expenditure of labor and effort trying to dispute and trying to

correct the inaccurate reporting; damage to his reputation; loss of sleep; lasting

psychological damage; loss of capacity for enjoyment of life; and emotional distress,

including mental anguish, anxiety, fear, frustration, humiliation, and embarrassment.

                               CLAIMS FOR RELIEF
                                   COUNT I
                              15 U.S.C. § 1681e(b)
     Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                   Accuracy
       70. Plaintiff re-alleges and incorporates by reference the allegations set

 forth in the preceding paragraphs as if fully stated herein.

       71.    Defendant is a “consumer reporting agency” as defined by 15 U.S.C. §

 1681a(f).

       72.    At all times pertinent hereto, Plaintiff was a “consumer” as that term is

 defined by 15 U.S.C. § 1681a(c).

       73.    At all times pertinent hereto, the above-mentioned employment report

 was a “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).

       74.    Defendant violated 15 U.S.C. § 1681e(b) by failing to establish or to

 “follow reasonable procedures to assure maximum possible accuracy” in the




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preparation of the employment report it sold about Plaintiff as well as the

information it published within the same.

      75.    As a result of Defendant’s violations of the FCRA, Plaintiff has

suffered a range of actual damages including, without limitation, loss of employment

opportunities, wages, and benefits; loss of economic opportunities and positions and

advancements in the future; loss of time and money trying to correct his background

check report; the expenditure of labor and effort trying to dispute and trying to

correct the inaccurate reporting; damage to his reputation; loss of sleep; lasting

psychological damage; loss of capacity for enjoyment of life; and emotional distress,

including mental anguish, anxiety, fear, frustration, humiliation, and embarrassment.

      76.    Defendant willfully violated 15 U.S.C. § 1681e(b) in that its conduct,

actions, and inactions were willful, rendering them liable for actual or statutory

damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. Alternatively, they were negligent, entitling Plaintiff to

recover under 15 U.S.C. § 1681o.

      77.    Plaintiff is entitled to recover statutory damages, punitive damages, and

reasonable attorneys’ fees and costs from Defendant in an amount to be determined

by the Court pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for the following relief:


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  i.   Determining that Defendant negligently and/or willfully violated the FCRA;

 ii.   Awarding Plaintiff actual, statutory, and punitive damages as provided by the

       FCRA;

iii.   Awarding Plaintiff reasonable attorneys’ fees and costs as provided by the

       FCRA; and,

iv.    Granting further relief, in law or equity, as this Court may deem appropriate

       and just.

                           DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby demands a trial by jury on all issues so

triable.

Dated: January 25, 2024               CONSUMER ATTORNEYS


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